       Case 4:17-cv-00516-LCB-JEO Document 64 Filed 12/20/18 Page 1 of 4                                 FILED
                                                                                                2018 Dec-20 AM 11:05
                                                                                                U.S. DISTRICT COURT
                                                                                                    N.D. OF ALABAMA


                  IN THE UNITED STATES DISTRICT COURT FOR THE
               NORTHERN DISTRICT OF ALABAMA, SOUTHERN DIVISION

MICHAEL STANLEY TOWNSEL,                           )
                                                   )
            Plaintiff,                             )
                                                   )       Case No. 17-cv-516
             v.                                    )
                                                   )
KIM THOMAS, et al.,                                )
                                                   )
            Defendants.                            )

                                UNOPPOSED MOTION FOR
                             LEAVE TO APPEAR PRO HAC VICE

       Now comes Megan Pierce, of the law firm Loevy & Loevy, and hereby respectfully

moves the Court for leave to file an appearance pro hac vice in the above-captioned case on

behalf of Plaintiff Michael McGregor. In support of this motion, Ms. Pierce states as follows:

   1. Ms. Pierce works at Loevy & Loevy, the firm that Plaintiff Michael McGregor retained to

represent him in this matter. Ms. Pierce is an attorney in good standing in the State of California.

She has also been admitted to and is a member in good standing of multiple federal courts,

including the United States District Court for the Central District of Illinois.

   2. Ms. Pierce was admitted to practice in the State of California on January 18, 2017. She

was admitted to the Central District of Illinois on October 10, 2018. She was admitted to the

Central District of California on October 30, 2018. She was admitted to practice in the Northern

District of Indiana on November 1, 2018. She was admitted to practice in the Southern District of

Indiana on November 15, 2018.

   3. Ms. Pierce has never been suspended, disbarred, or subjected to disciplinary measures of

any kind by any state bar, federal bar, or any other licensing body.
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    4. As noted above, Ms. Pierce is employed as an attorney at Loevy & Loevy in Chicago,

Illinois. Her mailing address is 311 North Aberdeen, 3rd Floor, Chicago, IL 60607. Her telephone

number is (312) 243-5902. Her email address is megan@loevy.com. She resides in Chicago,

Illinois.

    5. A Letter of Good Standing from the State Bar of California is attached to this motion as

Exhibit A.

    6. Immediately following the filing of this motion, Ms. Pierce will be making the required

payment for admission pro hac vice of $50 via the Court’s CM/ECF system.

    7. The undersigned local counsel, Henry F. Sherrod, has reviewed this Motion and does not

oppose it.

    Wherefore, Megan Pierce respectfully requests that the Court grant her leave to appear pro

hac vice on behalf of Michael McGregor in this matter.

                                                           Respectfully Submitted,
                                                           /s/ Megan Pierce
                                                           Megan Pierce

                                                           /s/ Henry Sherrod
                                                           Henry F. Sherrod, III




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                               CERTIFICATE OF SERVICE

        I, Megan Pierce, an attorney, hereby certify that on December 20, 2018, I filed the
foregoing motion via the Court’s CM/ECF system and thereby served a copy on all counsel of
record.

                                                         Respectfully submitted,
                                                          /s/ Megan Pierce
                                                         Megan Pierce
